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                     EXHIBIT B
Case 8:16-cv-01440-JLS-DFM Document 498-2 Filed 12/17/20 Page 2 of 7 Page ID
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                                                                             80 North Main St., P.O. Box 351
    Attomeys and Counselors at Law                                           Ellenville, NY 11428
                                                                             Telephone (845) 647.8509
                                                                             Facsimile (845) 647-6277
                                                                             Email: Assistant@Signallaw.com

    *Wayne D. Lonstein                                                       Christopher Hufnagel
    Julie Cohen Lonstein

    •also admitted in NJ. PA &MA
                                             Jwie 26, 2015




    Oneida's Beauty & Barber Salon
    Attn: Doneyda Perez
    12342 Harbor Blvd
    Oarden Grove, CA 92840




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                                                     PURPOSES ONI.Y- N                                       ti


    Re:      DIRECTV, LLC v. Oneida's Beauty & Barber Salon, et al.
             Our File No. HS15-18CA-05
             Unauthorized Exhibition of DIRECTV Programming
             Date of Audit: April 8, 2015


    Dear Ms. Perez,

    In furtherance of today's correspondence with our office, I have attached the proposed Settlement
    Agreement. This Agreement may not be changed without written approval.

    This settlement is contingent upon funds being received on or before 07/06/2015, in accordance with the
    agreement tenns. Failure to receive funds timely and in full will result in abandonment of the settlement
    and our client retains the right to pursue the claims for their full entitlement under the law, including
    attorney's fees.

    Kindly return the ex.ecuted Settlement Agreement via fax at 845-647-6277 or by email to
    llSSistant@siu,,1allaw.corn and the payment of$S00.00 on or before 07/06/2015. You may call the office
    to make a debit or credit card payment over the phone or submit payment using an alternative method,
    given below:

          1. Wire Funds: please see attached wiring instructions

          2. ACH Oirect Debit: Please see authorization form attached to fill out and return with a copy of a
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             void check by fax or email 110 fmer rlum 5:00pm E.S T, m least I bysiness day prior ro vow·
             -~chetluled p(Mtu.mr due dare.

        3. Credit Card: please go to the following secure link to complete the transaction:

           \ltps://p.f!YJ ,llli!SIJP.O .co vb 1/dtvllo (note: this website does not accept American Express
           cards.)
        4. American Express: please see authori:zation fonn attached for you to fill out and return by fax or
           email. Once you have returned the authorization form, please contact our office to make the
           payment.

        5. Certified Checks: to be made payable to: /,ONSTEJN LAW OFf.1 ,E, P.C.d:1.s ,uome .-~~-

        6.   PayPal: please go to www. a       I.co 1l and send payments to pay(@.signallnw.com.

    Upon receipt of payment in full, a letter stating the file is closed along with the original fully executed
    Agreement will be sent to you after all tenns of the Agreement are fulfilled.

    Thank you for your assistance and courtesies herein.

    Warm Regards,

    Angelina Mullen, Legal Assistant
    Lonstein Law Office, P.C.
    80 N. Main St; P.O.,Box 351
    Ellenville, NY 12428
    amulle11@signnl lnw.co111
    Office: 845-647-8509 Ext. 319
    Fax: 845-647-6277
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                                          SETTLEMENT AGREEMENT

                    IT IS HEREBY STIPULATED AND AGREED by and between the attorneys for
    DIRECTV, LLC. (the "Claimant"), and Oneida's Beauty & Barber Salon located at 12342 Harbor
    Blvd, Garden Grove, CA 92840, aod its owoers, shareholders, employees and agents (the
    "Establishment"), that all claims resulting from Establishment's unauthorized commercial misuse and
    display of DIRECTV Programming Services as of the date herein, are settled and the Establishment
    agrees to pay the sum of$5,000.00 in full settlement and satisfaction of this matter:


            l . Said sum shall he paid as follows :
                    (a) The full sum of $5,000.00, by an initial payment in the amount of $500.00 on or
                    before July 6, 2015 via certified funds, credit card, direct account debit (ACH), or wire
                    transfer to th0 escrow account for the attorney for the claimant.
                    (b) The remainder sum of$4,500.00 shall be paid to Lonstein Law Office, P.C., as
                    attorney for DIRECTV, by recurring payments in the amount of $500.00 via certified
                    funds, credit card, direct account debit (ACH), wire transfer or PayPal for a period of 9
                    installments on day 6 of each consecutive month.
                    (c) If paying by wire, wiring im1tructions are attached.
                    (d) For payments via ACH direct debit, attached please find payment authorization for
                    your client to fill out and return.
                    (e) If paying by credit card, please go to the following secure link to complete the
                    transaction;
                    https://pay l.plugnpay.com/bpl/dtvllo (Note: this website does not accept American
                    Express cards)
                    (f) If paying by American Express, please see authorization form attached for you to fill
                    out and return by fax or email. Once you have returned the authorization form, please
                    contact our office to make the payment.
                    (g) lf paying by certified check, payment shall be made payable to LONSTEIN LAW
                    OFFICE, P .C., as attorney, at 80 North Ma.in St, P.O. Box 351, Ellenville, New York
                     12428 and is subject to collection.
                    (h) If paying by PayPal, go to w\ \ .preypal.1:om and send payment to
                    g:i~(a1:;1g11. l l 1\ .co 111


            2. INTENTIONALLY OMlTTED.
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            3. For the sole consideration of the payment of$5,000.00, Claimant hereby release~
    Establishment, its owners, employees and agents and the Establishment hereby releases Claimant, its
    agents, parents, subsidiaries, predecessors, successors, and attorneys from any and all liabilities, actions,
    causes of action, suits, debts, dues, sums of money, account{,, bonds, executions, claims and/or demands,
    whether fixed or contingent, known or unknown, and/or of any kind and/or nature whatsoever, which
    either Claimant or Establishment or its owners ever had, now has or may have, specifically limited to any
    and all claims which were and/or could have been asserted herein. The Parties agree and understand that
    this Agreement is a Release of a claim brought against Oneida's Beauty & Barber Salon or any of its
    owners, sharehoJd·ers, employees, and agents for the commercial misuse of DIRECTV Programming
    and DOES NOT INCLUDE or contemplate any release of obligations under this Agreement or claims of
    DIRECTV that are predicated upon Oneida's Beauty & Barber Salon or any of its owners,
    shareholders, employees, or agents failure to pay any sum due to DrRECTV pursuant to any existing
    subscription agreement(s) with DIRECTV in existence as of the date of this agreement.


            4. The Establishment hereby expressly warrants and represents that:

                     A.      The only consideration for executing this Agreement and for paying the total sum
                     of $5,000.00, is DI.RECTV's agreement to resolve the Dispute;


                     B.      No promise, warranty, or representation of any kind has been expressed or implied
                     to the Establishment by Claimant, or by anyone acting for it, except as is expressly stated
                     in this Agreement. Furth~r, the Establishment is not relying upon any advice of the
                     Claimant, or representatives, as to the legal consequences of this Agreement.


                     C.      The Establishment acknowledges displaying DIRECTV Programming in the
                     establishment. Establishment recognizes that they have no lawful right to the exhibition
                     of DIRECTV programming within Establishment which is not authorized on customer's
                     commercial DIRECTV account.


                     D.      The Establishment acknowledges that this Agreement creates no warranty or
                     representation of services on behalf of the Claimant as the provision of any and all services
                     is governed by service agreements between Claimant and its customers, as modified from
                     time to time.
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            5.   Each of the parties to this Agreement acknowledges that they have been informed of the
    provision of California Civil Code§ 1542, and each party expressly waives and relinquishes all rights
    which it or he had, has, may have had under that section, which reads as follows:


                     ·•A general release does not extend to claims which the creditor does uot know or suspect
                     to exist in his or her favor at the time of executing the release, which if known by him or
                     her must have materially affected his or her settlement with the debtor."


            The parties to this Agreement acknowledge that they are aware that they may hereafter discover
    facts or law different from m· in addition to those which they know or believe to be true with respect to
    the subject matter of this Agreement, or that they may have claims which, at the time of the execution of
    this Agreement, they have no knowledge or suspicion, or that the loss or damage presently known or
    claimed may be or become greater than they now expect or anticipate. The parties agree that their
    releases shall be and remain in effect at to the matters released, notwithstanding such unknown or
    unanticipated results, or such additional facts or law.


            6. In the event that the Establishment defaults in the tenns of this Agreement by failing to make
    any payment by the dates specified in paragraph I above, Claimant may, without notice or demand,
    declare the entire principal swn then unpaid immediately due and payable. In the case of such a default,
    this settlement Agreement will be abandoned in favor of seeking the full amount of statutory damages if
    not cured after ten (10) days written notice to establishment of the breach with an opportunity to cure.
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            7. The signatories to tbis Agreement speclficaUy represent thatthey have full authority to enter
    into same. Furthennore, both Claimant and Establishment have had        the opportunity to seek the benefit of
    legal counsel to explain the contents, terms, provisions, or effects of this Agreement and, whether or not
    either party bas taken advantage of that opportunity, both parties are satisfied that Ibey fully understand the
    provisions of this Agreement and its eff~ts.


    AGREED to this_ day of the month of                                   , 2015.

    DIRECTV, LLC.                               Oneida's Beauty & Barber Salon



    By:                                         By: _   _    _   _
      Julie Cohen Lonstein, Esq.                Print Name:
      Lonstein Law Office, P.C.                    Oneida's Beauty & Barber Salon
      Attorneys for DirecTV                        12342 Harbor Blvd
      Office and P.O. Address                      Garden Grove, CA 92840
      80 N. Main St: P.O. Box 351
      Ellenville, New York 12428
      Telephone: (845) 647-8500
       Email: ·uli<.:: :;i1m Haw.co m
